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                 Exhibit 2
Supplemental Administrative
      Record Index
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            00191180             00191185     8/23/2001 13:58 Edoc            Ian Fisher ‐ 2001‐08‐The Burden of Air Pollution Impacts among Racial Minorities.pdf        .\VOL001\IMAGES\IMAGES001\00191180.pdf
            00191186             00191194       4/2/2004 9:36 Edoc            Ian Fisher ‐ 2004‐Urban Air Pollution Input from Car Parking Places.pdf                     .\VOL001\IMAGES\IMAGES001\00191186.pdf

            00191195             00191211      4/9/2004 10:26 Edoc            Ian Fisher ‐ 2002‐11‐04‐Letter Concerning Effects of Proposed Potomac River Crossings.pdf .\VOL001\IMAGES\IMAGES001\00191195.pdf
            00191212             00191216     4/16/2004 14:02 Edoc            Ian Fisher ‐ 2004‐05‐Highway Repair A New Silicosis Threat.pdf                            .\VOL001\IMAGES\IMAGES001\00191212.pdf
                                                                              Ian Fisher ‐ 2007‐10‐Increases in Greenhouse‐Gas Emissions From Highway‐Widening
            00191217             00191225     10/9/2007 14:06 Edoc            Projects.pdf                                                                              .\VOL001\IMAGES\IMAGES001\00191217.pdf
                                                                              Ian Fisher ‐ 2008‐04‐15‐Effect Modification by Community Characteristics on the Short
            00191226             00191245     6/18/2008 15:11 Edoc            term Effects of Ozone Exposure and Mo.pdf                                                 .\VOL001\IMAGES\IMAGES001\00191226.pdf
                                                                              Ian Fisher ‐ Examples of Silica Dust‐Producing Tasks, Highway Road Construction and
            00191246             00191265     7/11/2008 13:37 Edoc            Repair.pdf                                                                                .\VOL001\IMAGES\IMAGES001\00191246.pdf
                                                                              Ian Fisher ‐ 2009‐03‐12‐Near‐Road Air Quality Monitoring Factors Affecting Network
            00191266             00191279     3/19/2009 12:41 Edoc            Design and Interpretation of Data.PDF                                                     .\VOL001\IMAGES\IMAGES001\00191266.pdf
                                                                              Ian Fisher ‐ 2010‐07‐Energy Usage and Greenhouse Gas Emissions of Pavement
            00191280             00191295     5/12/2010 16:24 Edoc            Preservation Processes for Asphalt Concrete Pave.pdf                                      .\VOL001\IMAGES\IMAGES001\00191280.pdf

            00191296             00191402     6/16/2011 12:51 Edoc            Ian Fisher ‐ 2011‐01‐Maryland Nontidal Wetland Mitigation Guidance 2nd Ed_.pdf              .\VOL001\IMAGES\IMAGES001\00191296.pdf
                                                                              Ian Fisher ‐ Greenhouse Gas Emissions Mitigation in Road Construction and
            00191403             00191511      6/27/2011 9:42 Edoc            Rehabilitation.pdf                                                                          .\VOL001\IMAGES\IMAGES001\00191403.pdf
            00191512             00191681     4/30/2012 11:51 Edoc            Ian Fisher ‐ 2012‐Travel Demand Forecasting Parameters and Techniques.pdf                   .\VOL001\IMAGES\IMAGES001\00191512.pdf
                                                                              Ian Fisher ‐ 2014‐08‐14‐Degradation in Urban Air Quality From Construction Activity and
            00191682             00191691     9/22/2014 10:23 Edoc            Increased Traffic.pdf                                                                       .\VOL001\IMAGES\IMAGES001\00191682.pdf
                                                                              Ian Fisher ‐ 2014‐11‐Ecological Restoration of Streams and Rivers_Shifting Strategies and
            00191692             00191718      2/26/2015 8:42 Edoc            Shifting Goals.pdf                                                                          .\VOL001\IMAGES\IMAGES001\00191692.pdf
            00191719             00191736     10/23/2015 0:57 Edoc            Ian Fisher ‐ 2010‐06‐25‐Prediction and Analysis of Near‐Road Concentrations.pdf             .\VOL001\IMAGES\IMAGES001\00191719.pdf
                                                                              Ian Fisher ‐ 2016‐03‐Stormwater Management In Response To Climate Change
            00191737             00191816 5/10/2016 14:13 Edoc                Impacts.PDF                                                                                 .\VOL001\IMAGES\IMAGES001\00191737.pdf
            00191817             00191817 6/27/2016 21:54 Edoc                Ian Fisher ‐ The Principles of Environmental Justice.pdf                                    .\VOL001\IMAGES\IMAGES001\00191817.pdf
            00191818             00191826 9/29/2016 12:12 Edoc                Ian Fisher ‐ 2004‐05‐06‐Capital Beltway Study Public Display Boards.pdf                     .\VOL001\IMAGES\IMAGES001\00191818.pdf
            00191827             00191835 11/13/2016 21:22 Edoc               Ian Fisher ‐ 2016‐11‐MARC Brunswick Frederick Line Improvement Proposal.pdf                 .\VOL001\IMAGES\IMAGES001\00191827.pdf
            00191836             00191836 6/19/2017 14:35 Edoc                Ian Fisher ‐ 2017‐06‐Silicosis There is No Cure But it Can be Prevented!.pdf                .\VOL001\IMAGES\IMAGES001\00191836.pdf
                                                                              Ian Fisher ‐ 2017‐Closing the Induced Vehicle Travel Gap Between Research and
            00191837             00191844     6/22/2017 17:25 Edoc            Practice.pdf                                                                                .\VOL001\IMAGES\IMAGES001\00191837.pdf

            00191845             00191861 12/20/2017 15:56 Edoc               Ian Fisher ‐ ACS Infrastructure Development, Response to Request for Information.pdf        .\VOL001\IMAGES\IMAGES001\00191845.pdf
                                                                              Ian Fisher ‐ 2018‐04‐20‐MDE Performance Standards and Monitoring Protocol For
            00191862             00191873      4/27/2018 8:48 Edoc            Permittee.pdf                                                                               .\VOL001\IMAGES\IMAGES001\00191862.pdf
                                                                              Ian Fisher ‐ 2018‐08‐01‐The Concentration‐Response Between Long‐Term PM2 5 Exposure
            00191874             00191886    9/4/2018 6:29 Edoc               and Mortality.pdf                                                                           .\VOL001\IMAGES\IMAGES001\00191874.pdf
            00191887             00191889 10/19/2018 10:32 Edoc               Ian Fisher ‐ 2018‐10‐17‐MWCOG Comments on SAFE Vehicles Rule.pdf                            .\VOL001\IMAGES\IMAGES001\00191887.pdf
                                                                              Ian Fisher ‐ 2020‐10‐11‐National Association of Clean Air Agencies Comments on SAFE
            00191890             00191897 10/26/2018 11:14 Edoc               Vehicles Rule.pdf                                                                           .\VOL001\IMAGES\IMAGES001\00191890.pdf
                                                                              Ian Fisher ‐ 2018‐10‐26‐North Carolina Environmental Quality Comment on SAFE Vehicles
            00191898             00191942 10/26/2018 17:50 Edoc               Rule.pdf                                                                                    .\VOL001\IMAGES\IMAGES001\00191898.pdf
            00191943             00191950 1/18/2019 19:36 Edoc                Ian Fisher ‐ 2019‐11‐09‐Air Pollution and Noncommunicable Diseases.pdf                      .\VOL001\IMAGES\IMAGES001\00191943.pdf
            00191951             00191958 1/18/2019 19:36 Edoc                Ian Fisher ‐ 2019‐Air Pollution and Noncommunicable Diseases.pdf                            .\VOL001\IMAGES\IMAGES001\00191951.pdf
                                                                              Ian Fisher ‐ 2018‐12‐Forecasting the Impossible The Status Quo of Estimating Traffic
            00191959             00191966      4/16/2019 0:47 Edoc            Flows.pdf                                                                                   .\VOL001\IMAGES\IMAGES001\00191959.pdf
            00191967             00192131     7/10/2019 11:30 Edoc            Ian Fisher ‐ 2019‐06‐05‐Board of Public Works Transcript.pdf                                .\VOL001\IMAGES\IMAGES001\00191967.pdf

            00192132             00192334 10/22/2019 3:48 Edoc                Ian Fisher ‐ 2019‐10‐22‐Advice from the Independent Particulate Matter Review Panel.pdf     .\VOL001\IMAGES\IMAGES001\00192132.pdf
            00192335             00192337 12/19/2019 10:52 Edoc               Ian Fisher ‐ 2019‐12‐18‐Letter from Lee Currey to Community Water Systems.pdf               .\VOL001\IMAGES\IMAGES001\00192335.pdf
                                                                              Ian Fisher ‐ 2006‐01‐Capital Beltway Study‐NETR‐Appendix C‐Wetland and Waterways
            00192338             00192360     1/29/2020 12:53 Edoc            Chart.pdf                                                                                   .\VOL001\IMAGES\IMAGES001\00192338.pdf
            00192361             00192380     1/29/2020 13:00 Edoc            Ian Fisher ‐ 2006‐01‐Capital Beltway Study‐NETR Appendix B 3‐3‐05.pdf                       .\VOL001\IMAGES\IMAGES001\00192361.pdf
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00192381   00192390   1/29/2020 13:02 Edoc     Ian Fisher ‐ 2006‐01‐Capital Beltway Study‐NETR Cover and Dividers.pdf                      .\VOL001\IMAGES\IMAGES001\00192381.pdf
00192391   00192396   1/29/2020 13:02 Edoc     Ian Fisher ‐ 2006‐01‐Capital Beltway Study‐NETR‐Ch1‐121505.pdf                              .\VOL001\IMAGES\IMAGES001\00192391.pdf
00192397   00192404   1/29/2020 13:04 Edoc     Ian Fisher ‐ 2006‐01‐Capital Beltway Study‐NETR‐TOC‐011306.pdf                              .\VOL001\IMAGES\IMAGES001\00192397.pdf
00192405   00192414   1/29/2020 13:06 Edoc     Ian Fisher ‐ 2006‐01‐Capital Beltway Study‐NETR‐Appendix A‐References.pdf                   .\VOL001\IMAGES\IMAGES001\00192405.pdf
00192415   00192493   1/31/2020 15:02 Edoc     Ian Fisher ‐ 2006‐01‐Capital Beltway Study‐NETR Chapter 3_Redacted.pdf                      .\VOL001\IMAGES\IMAGES001\00192415.pdf
                                               Ian Fisher ‐ 2019‐09‐10‐Letters from Industry Coalition re SAFE Vehicles Rule Impact on
00192494   00192500    2/5/2020 17:46 Edoc     Transportation Projects.pdf                                                                 .\VOL001\IMAGES\IMAGES001\00192494.pdf
00192501   00192595    2/7/2020 17:50 Edoc     Ian Fisher ‐ 2020‐02‐07‐Request for Qualifications.pdf                                      .\VOL001\IMAGES\IMAGES001\00192501.pdf
00192596   00192704   2/11/2020 22:19 Edoc     Ian Fisher ‐ 2019‐12‐MetroTunnel Environmental Management Framework.pdf                     .\VOL001\IMAGES\IMAGES001\00192596.pdf
00192705   00192709   2/18/2020 15:58 Edoc     Ian Fisher ‐ 2020‐02‐18‐USDOT‐FHWA FOIA Request.pdf                                         .\VOL001\IMAGES\IMAGES001\00192705.pdf
00192710   00192860   2/19/2020 15:39 Edoc     Ian Fisher ‐ 2020‐01‐08‐Board of Public Works Meeting.pdf                                   .\VOL001\IMAGES\IMAGES001\00192710.pdf
00192861   00192865    3/3/2020 14:43 Edoc     Ian Fisher ‐ 2020‐03‐03‐MDOT PIA request response.pdf                                       .\VOL001\IMAGES\IMAGES001\00192861.pdf
                                               Ian Fisher ‐ 2020‐03‐25‐Addendum No. 2 and 3, Phase 1 of the I‐495 & I‐270 Public‐Private
00192866   00192984   3/27/2020 13:45 Edoc     Partnership.pdf                                                                             .\VOL001\IMAGES\IMAGES001\00192866.pdf
00192985   00192989   4/14/2020 16:28 Edoc     Ian Fisher ‐ 2020‐04‐14‐MDOT Follow Up Response to PIA Request.pdf                          .\VOL001\IMAGES\IMAGES001\00192985.pdf
00192990   00192990   4/23/2020 16:09 Edoc     Ian Fisher ‐ 2020‐03‐18‐FHWA letter re extension of time.pdf                                .\VOL001\IMAGES\IMAGES001\00192990.pdf
00192991   00192994   4/23/2020 20:38 Edoc     Ian Fisher ‐ 2020‐04‐23‐MDOT PIA Request Response Letter.pdf                                .\VOL001\IMAGES\IMAGES001\00192991.pdf
                                               Ian Fisher ‐ 2014‐09‐30‐Impact of Highway Capacity and Induced Travel on Passenger
00192995   00193004   4/30/2020 19:24 Edoc     Vehicle Use.pdf                                                                             .\VOL001\IMAGES\IMAGES001\00192995.pdf
00193005   00193005   4/30/2020 19:24 Attach   highway_capacity_brief.pdf.accreport.html                                                   .\VOL001\IMAGES\IMAGES001\00193005.pdf

00193006   00193007   5/14/2020 10:44 Edoc     Ian Fisher ‐ 2020‐05‐14‐Letter from Montgomery County Council to Gregory Slater.pdf         .\VOL001\IMAGES\IMAGES001\00193006.pdf

00193008   00193019    6/16/2020 9:44 Edoc     Ian Fisher ‐ 2020‐06‐15‐Induced Vehicle Travel in the Environmental Review Process.pdf      .\VOL001\IMAGES\IMAGES001\00193008.pdf
00193020   00193021   6/17/2020 16:12 Edoc     Ian Fisher ‐ 2020‐06‐24‐FHWA FOIA Response.pdf                                              .\VOL001\IMAGES\IMAGES001\00193020.pdf
00193022   00193025   6/23/2020 11:43 Edoc     Ian Fisher ‐ 2020‐06‐23‐MDOT SHA Response to PIA Request.pdf                                .\VOL001\IMAGES\IMAGES001\00193022.pdf
                                               Ian Fisher ‐ 2020‐07‐01‐Generated Traffic and Induced Travel Implications for Transport
00193026   00193064    7/1/2020 14:25 Edoc     Planning.pdf                                                                                .\VOL001\IMAGES\IMAGES001\00193026.pdf
00193065   00193067    7/27/2020 7:52 Edoc     Ian Fisher ‐ 2020‐07‐24‐MDOT SHA PIA Response.pdf                                           .\VOL001\IMAGES\IMAGES001\00193065.pdf
                                               Ian Fisher ‐ 2018‐07‐Sacramento Metropolitan Air Quality Management District Board‐
00193068   00193085   7/30/2020 12:43 Edoc     Adopted Methodology.pdf                                                                     .\VOL001\IMAGES\IMAGES001\00193068.pdf

00193086   00193088   8/21/2020 12:47 Edoc     Ian Fisher ‐ 2020‐08‐Urgent Concern on Toxic Silica Dust as Public Health Hazard.pdf        .\VOL001\IMAGES\IMAGES001\00193086.pdf
                                               Ian Fisher ‐ 2020‐08‐28‐State Adds 30 days to Comment Period for I‐495 I‐270
00193089   00193101   8/28/2020 16:33 Edoc     Environmental Impact Study.pdf                                                              .\VOL001\IMAGES\IMAGES001\00193089.pdf

00193102   00193117     9/6/2020 2:39 Edoc     Ian Fisher ‐ 2020‐07‐02‐Influence of Roadway Emissions on Near‐Road PM2 5.pdf               .\VOL001\IMAGES\IMAGES001\00193102.pdf

00193118   00193119    9/8/2020 15:38 Edoc     Ian Fisher ‐ 2020‐08‐25‐MDOT Response to Requests re Changing Appendices.pdf                .\VOL001\IMAGES\IMAGES001\00193118.pdf
                                               Ian Fisher ‐ 2020‐09‐Sacramento Metropolitan Air Quality Management District Mobile
00193120   00193133   9/14/2020 15:11 Edoc     Sources Air Toxics Protocol.pdf                                                             .\VOL001\IMAGES\IMAGES001\00193120.pdf
00193134   00193134    9/22/2020 8:41 Edoc     Ian Fisher ‐ 2020‐09‐22‐MDOT Letter re Missing Reference.pdf                                .\VOL001\IMAGES\IMAGES001\00193134.pdf
                                               Ian Fisher ‐ 2020‐07‐21‐Email to MDOT and FHWA re Missing Reference Capital Beltway
00193135   00193135    9/24/2020 8:46 Edoc     Study.pdf                                                                                   .\VOL001\IMAGES\IMAGES001\00193135.pdf

00193136   00193137    9/24/2020 8:51 Edoc     Ian Fisher ‐ 2020‐08‐03‐MDOT SHA Response to Request for Missing References.pdf             .\VOL001\IMAGES\IMAGES001\00193136.pdf
00193138   00193139    9/24/2020 9:56 Edoc     Ian Fisher ‐ 2020‐08‐27‐Jitesh Parikh Email re Missing References.pdf                       .\VOL001\IMAGES\IMAGES001\00193138.pdf

00193140   00193141   9/24/2020 10:38 Edoc     Ian Fisher ‐ 2020‐09‐08‐Email re Follow Up to MDOT and FHWA re Missing References.pdf       .\VOL001\IMAGES\IMAGES001\00193140.pdf
00193142   00193144   9/24/2020 12:24 Edoc     Ian Fisher ‐ 2020‐09‐24‐Project Website with Email Sign Up Notice.pdf                       .\VOL001\IMAGES\IMAGES001\00193142.pdf
00193145   00193145   9/24/2020 12:25 Edoc     Ian Fisher ‐ 2020‐09‐24‐Project Website with Email Sign Up Notice 2.pdf                     .\VOL001\IMAGES\IMAGES001\00193145.pdf
00193146   00193148   9/24/2020 12:28 Edoc     Ian Fisher ‐ 2020‐07‐10‐FHWA and MDOT email re Release of DEIS.pdf                          .\VOL001\IMAGES\IMAGES001\00193146.pdf
                                               Ian Fisher ‐ 2020‐08‐18‐State's I‐495 I‐270 Study Expanded Without Proper Notice,
00193149   00193166   9/24/2020 12:35 Edoc     Regional Agency Complains.pdf                                                               .\VOL001\IMAGES\IMAGES001\00193149.pdf
                                               Ian Fisher ‐ 2020‐08‐18‐Local Planners Fume Over UnreportedAdditions to Highway
00193167   00193169   9/24/2020 12:56 Edoc     Document.pdf                                                                                .\VOL001\IMAGES\IMAGES001\00193167.pdf
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                                             Ian Fisher ‐ 2017‐09‐21‐Maryland Gov. Larry Hogan Proposes Widening the Beltway and I‐
00193170   00193173   10/2/2020 14:32 Edoc   270 to Include 4 Toll Lanes.pdf                                                              .\VOL001\IMAGES\IMAGES001\00193170.pdf
00193174   00193177   10/2/2020 14:35 Edoc   Ian Fisher ‐ 1999‐01‐04‐Md.'s Lesson Widen the Roads, Drivers Will Come.pdf                  .\VOL001\IMAGES\IMAGES001\00193174.pdf
00193178   00193180    10/5/2020 7:11 Edoc   Ian Fisher ‐ 2020‐06‐01‐Emails with FHWA re FOIA request.pdf                                 .\VOL001\IMAGES\IMAGES001\00193178.pdf
00193181   00193183    10/5/2020 7:50 Edoc   Ian Fisher ‐ 2020‐03‐30‐Emails with MDOT re PIA request.pdf                                  .\VOL001\IMAGES\IMAGES001\00193181.pdf
00193184   00193186    10/5/2020 7:58 Edoc   Ian Fisher ‐ 2020‐04‐14‐Email with MDOT re PIA request.pdf                                   .\VOL001\IMAGES\IMAGES001\00193184.pdf
00193187   00193190    10/5/2020 8:09 Edoc   Ian Fisher ‐ 2020‐05‐06‐Email with MDOT re PIA request.pdf                                   .\VOL001\IMAGES\IMAGES001\00193187.pdf
00193191   00193194    10/5/2020 8:11 Edoc   Ian Fisher ‐ 2020‐05‐19‐Emails with MDOT re PIA request.pdf                                  .\VOL001\IMAGES\IMAGES001\00193191.pdf
00193195   00193198    10/5/2020 8:19 Edoc   Ian Fisher ‐ 2020‐05‐28‐Email with MDOT re PIA request.pdf                                   .\VOL001\IMAGES\IMAGES001\00193195.pdf
00193199   00193203    10/5/2020 8:20 Edoc   Ian Fisher ‐ 2020‐06‐15‐Emails with MDOT re PIA request.pdf                                  .\VOL001\IMAGES\IMAGES001\00193199.pdf
00193204   00193210    10/5/2020 8:21 Edoc   Ian Fisher ‐ 2020‐06‐23‐Emails with MDOT re PIA request.pdf                                  .\VOL001\IMAGES\IMAGES001\00193204.pdf
00193211   00193212    10/5/2020 8:35 Edoc   Ian Fisher ‐ 2020‐07‐22‐Email with MDOT re PIA request.pdf                                   .\VOL001\IMAGES\IMAGES001\00193211.pdf
00193213   00193215    10/5/2020 8:40 Edoc   Ian Fisher ‐ 2020‐07‐27‐Email with MDOT re PIA request.pdf                                   .\VOL001\IMAGES\IMAGES001\00193213.pdf
                                             Ian Fisher ‐ 2017‐10‐22‐Hogan's Plan to Add Additional Toll Lanes Faces a Long, Tough
00193216   00193220   10/7/2020 18:03 Edoc   Road Ahead.pdf                                                                               .\VOL001\IMAGES\IMAGES001\00193216.pdf

00193221   00193224    10/9/2020 7:14 Edoc   Ian Fisher ‐ 2020‐08‐13‐The Need for a Tighter Particulate‐Matter Air‐Quality Standard.pdf   .\VOL001\IMAGES\IMAGES001\00193221.pdf
                                             Ian Fisher ‐ 2017‐12‐01‐Hogan’s Proposed Beltway Widening Project Could Require
00193225   00193251 10/11/2020 10:07 Edoc    Taxpayer Funding and Exorbitant Tolls.pdf                                                    .\VOL001\IMAGES\IMAGES001\00193225.pdf
                                             Ian Fisher ‐ 2019‐11‐27‐Short Term Exposure to Fine Particulate Matter and Hospital
00193252   00193264 10/11/2020 10:49 Edoc    Admission Risks and Costs.pdf                                                                .\VOL001\IMAGES\IMAGES001\00193252.pdf
                                             Ian Fisher ‐ 2020‐09‐08‐Maryland Would Have to Divert Money from Other Projects if
00193265   00193267 10/12/2020 12:32 Edoc    Purple Line Builders Quit.pdf                                                                .\VOL001\IMAGES\IMAGES001\00193265.pdf
                                             Ian Fisher ‐ 2020‐07‐04‐People Are Driving Less and Skipping the Toll Roads, Leaving Less
00193268   00193271 10/13/2020 10:47 Edoc    Money for Local Projects.pdf                                                                 .\VOL001\IMAGES\IMAGES001\00193268.pdf
                                             Ian Fisher ‐ 2020‐08‐12‐DC‐Area Toll Revenue Plunges 90% Amid Coronavirus
00193272   00193276 10/13/2020 10:50 Edoc    Pandemic.pdf                                                                                 .\VOL001\IMAGES\IMAGES001\00193272.pdf
                                             Ian Fisher ‐ 2019‐03‐29‐Traffic Terrors After 13‐Hour Shutdown, Lanes Reopen on Inner
00193277   00193281 10/15/2020 14:45 Edoc    Loop at American Legion Bridge.pdf                                                           .\VOL001\IMAGES\IMAGES001\00193277.pdf
                                             Ian Fisher ‐ 2020‐10‐08‐Urban Air Pollution May Enhance COVID‐19 Case‐Fatality and
00193282   00193290 10/15/2020 14:57 Edoc    Mortality Rates in the United States.pdf                                                     .\VOL001\IMAGES\IMAGES001\00193282.pdf

00193291   00193299 10/19/2020 14:19 Edoc    Ian Fisher ‐ 2020‐10‐19‐Carol S. Rubin Memo to M‐NCPPC, Comments to DEIS and JPA.pdf         .\VOL001\IMAGES\IMAGES001\00193291.pdf
                                             Ian Fisher ‐ 2020‐10‐28‐An Assessment of the Health Burden of Ambient PM2.5
00193300   00193343 10/26/2020 19:23 Edoc    Concentrations in Virginia.pdf                                                               .\VOL001\IMAGES\IMAGES001\00193300.pdf
00193344   00193346 10/30/2020 10:24 Edoc    Ian Fisher ‐ 2020‐10‐Norm Marshall Resume.pdf                                                .\VOL001\IMAGES\IMAGES001\00193344.pdf
00193347   00193380 10/30/2020 11:09 Edoc    Ian Fisher ‐ 1999‐09‐The Health Costs of Motor Vehicle Related Air Pollution.pdf             .\VOL001\IMAGES\IMAGES001\00193347.pdf

00193381   00193381 10/30/2020 11:35 Edoc    Ian Fisher ‐ 2020‐10‐28‐Living in Noisy Neighborhoods May Raise Your Dementia Risk.pdf       .\VOL001\IMAGES\IMAGES001\00193381.pdf
00193382   00193384 11/2/2020 10:01 Edoc     Ian Fisher ‐ 2020‐11‐02‐MDOT Letter Response re Underlying Traffic Data.pdf                  .\VOL001\IMAGES\IMAGES001\00193382.pdf

00193385   00193386   11/2/2020 12:38 Edoc   Ian Fisher ‐ 2020‐10‐01‐Email re Request for I‐495 & I‐270 Traffic Data and Files.pdf        .\VOL001\IMAGES\IMAGES001\00193385.pdf
                                             Ian Fisher ‐ 2020‐10‐09‐Email re Follow up Request for I‐495 & I‐270 Traffic Data and
00193387   00193388   11/2/2020 12:42 Edoc   Files.pdf                                                                                    .\VOL001\IMAGES\IMAGES001\00193387.pdf

00193389   00193390   11/2/2020 12:45 Edoc   Ian Fisher ‐ 2020‐10‐14‐FHWA Email re Request for I‐495 & I‐270 Traffic Data and Files.pdf .\VOL001\IMAGES\IMAGES001\00193389.pdf

00193391   00193392   11/2/2020 12:46 Edoc   Ian Fisher ‐ 2020‐10‐11‐MDOT Email re Request for I‐495 & I‐270 Traffic Data and Files.pdf   .\VOL001\IMAGES\IMAGES001\00193391.pdf
                                             Ian Fisher ‐ 2020‐10‐15‐Email re Follow Up to FHWA Request for I‐495 & I‐270 Traffic Data
00193393   00193395   11/2/2020 13:08 Edoc   and Files.pdf                                                                                .\VOL001\IMAGES\IMAGES001\00193393.pdf
                                             Ian Fisher ‐ 2020‐10‐20‐Email re Follow Up to MDOT Request for I‐495 & I‐270 Traffic Data
00193396   00193398   11/2/2020 13:10 Edoc   and Files.pdf                                                                                .\VOL001\IMAGES\IMAGES001\00193396.pdf
                                             Ian Fisher ‐ 2020‐10‐20‐Email re Follow Up to FHWA Request for I‐495 & I‐270 Traffic Data
00193399   00193401   11/2/2020 13:10 Edoc   and Files.pdf                                                                                .\VOL001\IMAGES\IMAGES001\00193399.pdf

00193402   00193405   11/2/2020 13:12 Edoc   Ian Fisher ‐ 2020‐10‐20‐FHWA Email re Request for I‐495 & I‐270 Traffic Data and Files.pdf .\VOL001\IMAGES\IMAGES001\00193402.pdf
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00193406   00193408   11/2/2020 13:17 Edoc   and Files.pdf                                                                                 .\VOL001\IMAGES\IMAGES001\00193406.pdf
00193409   00193411   11/2/2020 14:05 Edoc   Ian Fisher ‐ 2020‐08‐25‐Email re Request for Extension Missing Appendices.pdf                 .\VOL001\IMAGES\IMAGES001\00193409.pdf
00193412   00193414   11/2/2020 14:11 Edoc   Ian Fisher ‐ 2020‐10‐30‐FHWA Email re Request for Underlying Data.pdf                         .\VOL001\IMAGES\IMAGES001\00193412.pdf
                                             Ian Fisher ‐ 2019‐05‐29‐Here's Everything You Need To Know About The Capital Beltway
00193415   00193423   11/3/2020 12:39 Edoc   Expansion.pdf                                                                                 .\VOL001\IMAGES\IMAGES001\00193415.pdf
                                             Ian Fisher ‐ 2018‐10‐11‐MDOT Officials on Widening I‐270 'We’re Not Going to Take Your
00193424   00193433   11/3/2020 12:40 Edoc   Home'.pdf                                                                                     .\VOL001\IMAGES\IMAGES001\00193424.pdf
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00193434   00193436   11/3/2020 12:41 Edoc   Widening.pdf                                                                                  .\VOL001\IMAGES\IMAGES001\00193434.pdf
                                             Ian Fisher ‐ 2020‐03‐16‐Water Bills In Maryland Could Nearly Triple Under Beltway And I‐
00193437   00193439   11/3/2020 12:45 Edoc   270 Expansion Plan.pdf                                                                        .\VOL001\IMAGES\IMAGES001\00193437.pdf
                                             Ian Fisher ‐ 2020‐03‐13‐Express Toll Lanes Could Raise Water Bills in Montgomery and
00193440   00193443   11/3/2020 12:46 Edoc   Prince George’s.pdf                                                                           .\VOL001\IMAGES\IMAGES001\00193440.pdf
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